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16
                               IN THE UNITED STATES DISTRICT COURT
17
                   IN AND FOR THE NORTHERN DISTRICT OF CALIFORNIA
18
                                     SAN FRANCISCO DIVISION
19
20
     THE UNITED STATES OF AMERICA,                  )   Case No.: 20-CR-00249-RS
21                                                  )
                  Plaintiff,                        )   DECLARATION OF COUNSEL IN
22                                                  )   SUPPORT OF MR. ANDRADE’S
           vs.                                      )
                                                    )   REQUEST FOR EXTENSION OF TIME
23                                                      OF ONE WEEK TO COMPLY WITH, OR
     ROWLAND MARCUS ANDRADE,                        )
24                                                  )   FOR RECONSIDERATION OF, COURT
                  Defendant.                        )   ORDER 456
25                                                  )

26
27         I, Cindy A. Diamond do hereby state and declare:

28         1. I am an attorney, duly licensed to practice law in the State of California, and I am


      DECLARATION OF COUNSEL IN SUPPORT OF MR. ANDRADE’S REQUEST FOR EXTENSION OF
      TIME OF ONE WEEK TO COMPLY WITH, OR FOR RECONSIDERATION OF, COURT ORDER 456
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1    associate counsel in the above-entitled matter. I was appointed to assist Mr. Andrade’s
2    appointed counsel, Michael J. Shepard, who offered his services, the services of associates at his
3    firm King & Spalding, and some support services from his firm staff, all pro bono.
4           2. I have been reviewing the discovery and working Mr. Shepard and his firm to prepare
5    Mr. Andrade’s defense for trial since the Fall of 2022. The facts stated in this declaration I know
6    to be true from my experience working on this case, from my own knowledge, and from the
7    knowledge I gained from others on Mr. Andrade’s defense team, including Mr. Shepard’s
8    support staff.
9           3. The government disclosed a list of 1014 exhibits, and a witness list of 42 witnesses to
10   the defendant on January 15, 2025. It took time and resources to download the exhibits, and the
11   process of making them available online for the defense team is not yet finished.
12          4. In the week following January 15, 2025, the defense attorneys, and paralegal and
13   assistant support staff, are preparing and filing approximately 10 briefs, all due between January
14   15, 2025, and January 20, 2025 (a national holiday), per our pretrial schedule order.
15          5. The process of making exhibits ready for production to the government in this case
16   has proven to be unusually time-consuming, because the government’s discovery (of over 6
17   million documents) was produced without traditionally organized Bates stamp numbers. Once
18   documents are identified, it takes at least 5 minutes to prepare each document for disclosure.
19   Longer documents take more time.
20          6. We continued to get discovery disclosures from the government recently, for instance,
21   documents were discovered to us on December 18, 2024, January 7, 2025, and January 14, 2025.
22   This material needs to be searched for duplicates and uploaded to online servers for Mr.
23   Andrade’s attorney to be able to view and use them; that takes more paralegal resources.
24          I declare under penalty of perjury under the laws of the United States of America that the
25   foregoing is true and correct to the best of my knowledge, information and belief. Executed this
26   17th day in San Francisco, California.
27                                                ______/s/________________________________
28                                                CINDY A. DIAMOND, Declarant


      DECLARATION OF COUNSEL IN SUPPORT OF MR. ANDRADE’S REQUEST FOR EXTENSION OF
      TIME OF ONE WEEK TO COMPLY WITH, OR FOR RECONSIDERATION OF, COURT ORDER 456
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